Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 1 of 29 Page |D #:15

EXHIBIT ‘A’

(Pagel of 28)

ESENSTEN LAW
12100 Wilshire Blvd.

Suite 1660
Los Angcles, CA 90025

Gi'\
L_’.l

w

551

1~.»

,¢_.\:»

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18

\D®\'|O\U\-X>~UJN)-A

_ N N N N N N N N N )-l )-4 b-'- )-¢ )- )-\ )-1 \-\ )- )-¢
00 \l G'\ Ui & 03 N I-i O \Q w \l Q'§ Ul J>. w N i-I O

ROBERT L. ESENSTEN (SBN 65728)
resensten@esenstenlaw com

JORDAN S. ESENSTEN (SBN 264645)
jesensten@esenstenlaw. com

ESENSTEN LAW

12100 Wilshire Boulevard, Suite 1660

Los Angeles, California 90025

'l`elephone: (310) 273-3 090

Facsimile: (310) 207-5969

Attorneys for LOUIE HASSAN, and
Others Similarlv Situated

Page 2 of 29 Page |D #:16

 

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES - CENTRAL DISTRICT

LOUIE HASSAN, in his individual capacity,
and on behalf of all others similarly situated,

Plaintiff,
vs.

PRAXAIR, INC., a Delaware Corporation;
and DOES 1-100, inclusive

Defendants.

CLASS ACTION

 

 

CIVIL AC'l`lON NO.

BC695124

COMPLAINT FOR:

(l) Failure to Provide Mandated Timely
Off-Duty Meal Breaks;

(2) Failure to Provide Mandated T imer
Off-Duty Rest Breaks;

(3) Failure to Pay Minimum Wages;

(4) Failure to Provide Accurate Itemized
Wage Statements;

(5) Failure to Pay Compensation Due
Upon Separation of Employment;
and

(6) Unfair/Unlawful/Fraudulent
Business Praetices

 

 

 

Complaint

Doc# 1 Page# 1 - Doc ID = 1729755688 - Doc Type = OTHER

 

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 3 of 29 Page |D #:17

(Page 2 of 28)

22 CJ CJ ” ij
g 3 §§ cl o i:°i c-
_ q n w .. .
c‘ ." ' h`l \;‘; 0 124
‘1' m w +R w
rr `¢,h
§§ ..4
q- §
}_`j cv
ij
$¢Q
§ [":j :-': l:¢
'.. '-¢ '~. -
~g F4 '#lf
ch ‘ \0 CJP?
ap lr "~Xr
r_~, (__’) f:'j v- n
m (,) g_l v~¢ ¢» ul
§ dr -».~_g n
§§ HY§m
l il d '. _|
M# ~"o;¢:
go LL F- <r §; uJLJ LJ LJ LJ
@W &ami
39 9959
» \ f
5 155 Lu ~cr cr m
.'_'; _.) m C:» 11- ll'
<$
QJ
.‘»,/
§
,.,f».
r.»,
_"~'.."
@
!“»°~!'.
.f.,h;l

 

Doc# 1 Page# 2 - Doc ID = 1729755688 - Doc Type = OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 4 of 29 Page |D #:18

(Page 3 of 28)

pa

Through this Complaint, Plaintiff LOUIE HASSAN (“Plaintiff”), by and through his
undersigned attorneys, respectfully alleges against PRAXAIR, INC. and DOES l-lOO
(collectively, “Defendants”), as follows:

NATURE OF ACTION

1. Plaintiff brings this action on behalf ofhimself, as a class action, and on behalf of
the California general public, against Defendants for their failure to provide mandated timely meal
periods to truck drivers; their failure to pay truck drivers for missed and untimely meal and break

periods; their failure to issue accurate itemized wage statements to drivers; and their failure to pay

\GCD\'|U\UIAUJN

drivers’ wages due upon termination of employment As a result of these acts or omissions,

p_n
O

Defendants have violated California statutory laws as described below.

)_4
hi

JURISDICTION AND VENUE

)_¢
N

2. Defendants are within the jurisdiction of this Court in that they transact millions of

)_4
U-)

dollars of business in the State of California and in Los Angeles County. Defendants operate at

p_s
ah

least four (4) centers throughout California, and Plaintiff was employed at their center on 83 00 S.

Suite 1660
Los Angclcs, CA 90025

i_‘
UI

Atlantic Blvd., Cudahy, Ca]ifornia 90021 in Los Angeles County. As a result, Det`endants have

ESENSTEN LAW
12100 Wilshire B|vd.

)_1
G'\

obtained the benefits of the laws of the State of California and its cryogenics distribution market.

,_¢
\l

3. Venue is proper in this county under California Business and Professz'ons Code §

»_i
w

17203 and Califomia Code of Civz`l Procedure §§ 395(a) and 395.5. Plaintiff was based out of

)_L
\D

Defendants' center located in the City of Cudahy in Los Angeles County, and the putative Class

N
Q

includes only California residents Many of the acts, as well as the course of conduct charged

N
g_l.

herein, occurred in Los Angeles County.

M
b-)

4. The aggregate amount in controversy for the putative Class is not expected to meet

N
b)

or exceed $5,000,000. The total amount in controversy for the named Plaintiff or any individual

T
N
A

putative Class member is not expected to meet or exceed $75,000. Plaintiff asserts causes of

N
ul

action based solely on, and arising norn, California law, and asserts no claims under federal law.

N
O\

The claims of the Class are also individual claims for violations of California law described

N
\!

herein. These claims do not unite or enforce a single title or right, but rather arise from

N
m

Defendants’ systemic failure to provide mandated timely meal and break periods to drivers, their

2
Complaint

 

 

 

Doc# 1 Pa.ge# 3 - Doc ID = 1729755688 * Doc Type = OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 5 of 29 Page |D #:19

(Paqe 4 of 28)

)

\-i

incurrence of waiting time penalties, penalties for itemized wage statements, and penalties for
failure to pay all wages due on terminationl
THE PARTIES
5. Plaintiff LOUIE HASSAN is a California resident who was employed by
Defendants as a truck driver until in or around January 2016. Plaintiff was based at Defendants'
Cudahy Facility located at 8300 S. Atlantic Blvd., Cudahy, California 9002]. On a daily basis
throughout his employment with_Defendants, Plaintiff Hassan and his fellow drivers Were not

properly compensated by Defendants for missed, untimely, and on-duty meal and break periods

\SW\!C\UIAUJN

6. Plaintiff is informed and believes and thereupon alleges that Defendant Praxair,

p_a
O

lnc. (“Praxair”) is a corporation formed under the laws ofDelaware with its principal place of

y_\
ha

business in Connecticut, and transacts millions of dollars per year of business in Calif`ornia

|_\
N

transporting industrial gas and other items throughout Los Angeles County and other counties

|_\
m

throughout California.

ins
.D_

7. On information and belief, Defendants' facility on S. Atlantic Blvd. had a Hurnan

Suite l 660
Lo$ Ange|es, CA 90025

;_a
U'l

Resources office ii'om which Plaintiff and all putative Class members received their paychecks.

ESENSTEN LAW
12100 Wi|shire Blvd.

ha
G\

8. Plaintiff is ignorant of the true names and capacities, whether individual, corporate,

y_a
\`|

or associate, of those Defendants iictitiously sued as DOES l through 190 inclusive and so '

id
00

Plaintiff sues them by these fictitious names. Plaintiff is informed and believes that each of the

>_a
\9

DOE Defendants is in some manner responsible for the conduct alleged herein. Upon discovering

N
0

the true names and capacities of these fictitiously named defendants, Plaintift` will amend this

N
pa

Complaint to show the true names and capacities of these iictitiously named defendants

l\.)
N

9. Plaintiff is informed and believes and thereupon alleges that at all times mentioned,

\“
N
bd

each of the Defendants was (and still is) the employee, agent, partner, joint venturer, alter ego,

N
b

and/or co-conspirator of the other such defendants At all times mentioned, a unity of interest in

N
U'l

ownership and other interests between each of such Defendants has existed such that any

N
O\

separateness ceased to exist between them. The exercise of complete dominance and control over

N
`!

the other entities and their properties, rights and interests, rendered such entities-as mere shells and

N
m

instrumentalities of each other.

3
Complaint

 

 

 

DOC# 1 Page# 4 - Doc ID = 1729755688 - Doc Type = OTI-IER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 6 of 29 Page |D #:20

(Page§ of 28)

y.-s

FACTUAL ALLEGATIONS
lO. Plaintiff LOUIE HASSAN and the members of the Class were employed as truck
drivers by Defendants at all of Defendants' trucking locations at various times during the Class
Period, defined below. During the Class Period, Defendants employed several hundred truck
drivers throughout California. These employees job responsibilities included driving, operating
pumps, making pick-ups and deliveries of cryogenics and other hazardous industrial chemicals to
and from various hospitals, laboratories and other companies throughout Calif`ornia.

ll. During the Class Period, Plaintiff and other drivers employed by Defendants

\DOO\]Q\Ul-[:~OJN

typically worked at least ten (10`) hours per shii’t. During the Class Period, Plaintiff, like other

)d
O

members of the Class, typically worked five (5) days per Week and approximately fifty-one (Sl) to

)_A
)_A

fifty-two (52) weeks per year. During the Class Period, Defendants’ drivers made the vast

p_¢
N

majority, if not all, of their deliveries within the State of Calif`ornia, and were required on a daily

p_t
(JJ

basis to make their pick-ups and deliveries via trucks.l

p_.i
J>.

12. Due to the fact that truck drivers were transporting hazardous chemicals, During

$uite 1660
Los Angeles, CA 90025

p_a
Ul

the Class Period, Def`endants employed a policy and practice, uniformly applicable to all of its

ESENSTEN LAW
lZIOO Wi|shirc Bivd.

)_~
O\

trucking centers and all of its truck driver employees, that truck drivers were not permitted to

p-
\]

leave their trucks unattended at any point, including during all meal breaks and all rest breaks

pa
w

When Class members took their meal and rest breaks, they were required to take their meal and

)_i
\D

rest breaks while tending to their trucks Because Defendants’ policy and practice of requiring

N
O

truck drivers to stay with their trucks during all meal and rest breaks does not relieve Class

N
)_A

members of all duties, truck drivers were not provided proper meal and/or rest breaks

N
N

13. Thus, on a daily basis throughout the Class Period, Plaintiff, like all other members
"'f‘i 23 of the Class, was unable to take his mandatory rest breaks and his first off-duty thirty-minute

' §j" 24 break on or before the fifth hour of work. When Plaintiff` and members of the Class regularly

. §§ 25
Q

26

 

27 . . . . . . . .
’ By virtue of Defendants’ employment of truck drivers/drivers operating withm Califorma,

23 Defendants are and were at all times relevant hereto subject to IWC Wage Order No. 9.

4
Complaint

 

 

 

DOC# 1 Page# 5 - Dcc ID = 1729755683 - Doc Type = OT}IER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 7 of 29 Page |D #:21

(Page 6 of 28)

\_A

worked more than ten (10) hours per day, they were not able to take either of the two required off-
duty thirty-minute breaks.

14. During the Class Period, upon information and belief, Defendants maintained
records of the start and end time of each delivery made by Plaintiff. To comply with the law,
Defendants could have undertaken methods to ensure that Plaintiff and Class members were able
to take their off-duty meal and rest breaks Upon information and belief, despite the off-duty meal
period record-keeping requirements of Wage Order No.9, Defendants never maintained a record of

off-duty meal periods taken by drivers, including but not limited to Plaintiff.2

\QW\IG\U\AUJN

15. Upon information and belief, Defendants were aware of the fact that Plaintiff and

p-\
o

Class members stayed attending the truck during their meal breaks and rest breaks and that

z_¢i
»_4

Plaintiff and Class members were never fully relieved of all duties for their meal breaks and rest

>_¢
N

breaks The route sheets for Plaintiff and the members of the Class during the Class Period

p_¢
m

demonstrate that Defendants routinely and consistently failed to ensure that drivers took their

,._i
h

timely off-duty rest break of no less than ten minutes on or before the fourth hour of work or their

Suite l660
Los Angcles, CA 90025

;_¢
U'I

' timely off-duty meal period of no less than thirty (30) minutes on or before the fiith hour of work

ESENSTEN LAW
lZIOO leshire Blvd

)_t
C\

as required by California law. lnstead, Defendants' policy requiring Class members to attend the

|_\
\]

trucks at all times and during all breaks made it impossible for truck drivers, including but not

p_s
m

limited to Plaintiff and all putative Class members, to take their off-duty meal or rest breaks in a

inns
\O

timely fashion ln addition to the fact that Department of Transportation regulations made it

N
O

extremely difficult, if not impossible, for drivers to leave their trucks, Which carried hazardous

N
)_1

materials, unattended, Defendants trained and required Plaintiff and all putative Class members to

N
N

keep their trucks within their line of vision at all times. Because Def`endants had records of each

'»7.)
‘_
N
03

driver's whereabouts Defendants are and were for a number of years, fully aware that their truck

'r
N
h

 

n
N
Ul

2 Pursuant to Labor Code Section 1174, employers have a duty to keep accurate time records

csc “[W]here the employer’s records are inaccurate or inadequate ..., an employee has carried out
their burden if he proves that he has in fact performed work for which he was improperly
compensated and if he produces sufficient evidence to show the amount and extent of that work as
a matter of just and reasonable inference." Hernandez v. Mendoza, 199 Cal. App. 3d 721, 727
(1988).

NNN
QO\IG\

5

Complaint

 

 

 

Doc# 1 Page# 6 - Doc ID = 1729'755688 - Doc Type = OT]~L`ER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 8 of 29 Page |D #:22

(Pag¢'r of 28)

1 drivers were consistently missing their timely off-duty rest and meal periods Although
Defendants knew that their truck drivers, including, but not limited to, Plaintiff and all members of
the putative Class, were missing their mandatory off-duty meal and rest periods they nevertheless
failed to compensate Plaintiff and members of the Class for their missed, off-duty and/or untimely

rest and meal periods as required by California law.

ch th $L bd b)

16. Defendants have consistently failed to relieve truck drivers, including but not
limited to Plaintiff and all members of the putative Class, of all duty for rest breaks ofno less than

ten minutes on or before the fourth hour of work or for meal break of no less than thirty minutes

HD C¢ ~J

on or before the fifth hour of work, despite being aware that truck drivers, including but not

10 limited to Plaintiff and all members of the putative Class, were not taking their off-duty meal or
11 rest breaks on a timely basis Moreover, when Defendants' truck drivers worked more than ten

12 hours in a shift, Defendants consistently failed to ensure that its truck drivers, including but not

13 limited to Plaintiff and all members of the putative Class, took any off-duty meal or rest break.

§ § § § 14 17. Defendants made no efforts to ensure that meal and/or rest periods were provided
§§ § § 15 and taken by employees in a timely fashion, despite being on notice that drivers were not taking
w § § 16 their statutory rest or meal periods Accordingly, throughout the Class Period, Plaintiff and
1'7 members of the Class worked numerous shifts without legally-required, timely off-duty rest or
18 meal periods all with the knowledge and acquiescence ofDefendants. To make matters worse,
19 Defendants failed to compensate truck drivers including but not limited to Plaintiff and all
20 members of the putative Class, for missed and/or untimely and/or on-duty meal or rest periods
21 18. Defendants have adopted, and are using, unfair business practices to minimize
22 hourly-paid employees compensation and increase profits Defendants’ unfair business practices
ft 23 include causing non-exempt truck drivers, including but not limited to Plaintiff and all members of
' il 24 the putative Class, to work without receiving timely and adequate meal periods as well as failing
§§ 25 to pay truck drivers, including but not limited to Plaintiff and all members of the putative Class,

.<§§§
26 for missed and/or untimely and/or on-duty or interrupted meal or rest periods

27 ///
28 ///

6

Complaint

 

 

 

Doc# 1 Page# 7 - Dcc ID = 1729755688 - Doc Type = OTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 9 of 29 Page |D #:23

(Page B of 28)

 

1 19. Defendants knew or in the exercise of reasonable diligence should have known that
2 its truck drivers and drivers have been precluded from taking their off-duty meal or rest periods in
3 a timely fashion.
4 'CLASS ACTION ALLEGATIONS
5 20. Plaintiff brings this case as a class action pursuant to California Code of Civil
6 Procedure Section 382 on behalf of a putative Class (the "Class") consisting of:
7 All current and former employees of Defendant who
8 worked as truck drivers in California nom the four years
9 prior to the filing of this Complaint through the date of
10 Class certification
11 21. Plaintiff reserves the right to amend the Class definition or add any Class or

12 subclass prior to seeking Class certification

w § 13 22. Plaintiff believes there are hundreds if not thousands of current and former

§§ § § 14 employees in the Class Given the Defendantsx systemic failure to comply with California law

§§§§, 15 regarding meal periods and itemized wage statements the members of the Class are so numerous

g § § 16 thatjoinder of all members is impractical
17 23. Plaintiff’s claims are typical of the claims of the members of the Class because he
18 was a non-exempt truck driver who, like other members of the Class, sustained damages arising
19 from (a) Defendants failure to provide mandated statutory meal and rest periods; (b) Defendants
20 failure to pay them_for missed and untimely meal and rest periods; and (c) Defendants’ failure to
21 provide accurate itemized wage statements to their employees as required by California law.
22 24. Common questions of law and fact exist as to all members of the Class, and

§§ 23 predominate over any questions solely affecting individual members of the Class Arnong the

` t"'_‘ 24 questions of law and fact common to Plaintiff and the Class are:

_ ‘?~*-‘ 25 a. Whether Defendants engaged in a pattern or practice of failing to provide
26 timely, off-duty 130-minute meal periods to Plaintiff and the members of the Class who worked as
27 truck drivers in California during the Class Period;
28

7
Complaint

 

 

 

Doc# 1 Page# 8 - Dcc ID = 1729755633 - Doc Type = OTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 10 of 29 Page |D #:24

(Page 9 of 28)

1 b. Whether Defendants engaged in a pattern or practice of failing to provide
2 timely, off-duty rest periods to Plaintiff and the members of the Class who worked as truck drivers
in California during the Class Period;

c. Whether Defendants engaged in a pattern or practice of failing to properly
compensate Plaintiff and the members of the Class who worked as truck drivers in California
during the Class Period;

d. Whether Defendants employed a policy prohibiting drivers from leaving

their trucks unattended during their meal and rest breaks;

WCD\!C\UID.LM

e. Whether requiring drivers to attend to their trucks at all times constitutes a
10 proper meal or rest break; .

11 f. Whether Defendants violated California Labor Code Section 226.7, Section
12 512 and California industrial Welfarc Commission ("IWC") Order Nurnber 9, Section ll by

13 failing to relieve Plaintiff and the members of the Class who worked as truck drivers in California

§§ § § 14 during the Class Period Of all duty for timely meal periods;
§ §§ § 15 g. Whether Defendants are subject to Calg'fornz'a Busz'rzess and Professions
B§ § 16 Code § 17200 et. seq.;
17 h. Whether Defendants engaged in an unfair practice and violated California
18 Business and meessions Code § 17200 by failing to relieve Plaintiff and the members of the
19 Class who worked as truck drivers in California during the Class Period of all duty for timely meal
20 periods;
21 i. Whether Defendants engaged in an unfair practice and violated California
22 Bz¢sine_ss and Professz`ons Code § 17200 by failing to relieve Plaintiff and the members of the
§§ 23 Class who worked as truck drivers in California during the Class Period of all duty for timely rest
` '(`“’l 24 periods;
‘ §,: 25 j. Whether Defendants maintained accurate records of when Plaintiff and the

26 members of the Class who worked as truck drivers in California during the Class Period took
27 timely off-duty meal periods as mandated by California Industrial Welfare Commission ("IWC")
28 Order Number 9; l

8

Complaint

 

 

 

Doc# 1 Page# 9 - Doc ID = 1729755688 - Doc 'l‘ype = oTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 11 of 29 Page |D #:25

(Page 10 of 28)

1 k. Whether Defendants maintained accurate records of when Plaintiff and the

members of the Class who worked as truck drivers in California during the Class Period took

bd §J

timely off-duty rest periods as mandated by California lndustrial Welfare Cornrnission ("IWC")
Order Number 9;

l. Whether Defendants violated California Labor Code Section 226(a) by
regularly providing truck drivers who worked during the Class Period with inaccurate itemized
wage statements;

m. Whether Defendants violated California Labor Code Section 203(a) by

\ooo\ia\cn's~

failing to compensate former drivers who are members of the Class for all wages due to them upon

10 separation of employment with Defendants;

11 n. Whether Defendants are subject to Calz'fomia Labor Code § 11§7;
12 0., Whether Defendants violated Caliform`a Labor Code § 1197;
1 § 13 p. Whether Defendants are subject to Calg'fomz'a Labor Code § 226;
§§ §§ 14 q. Whether Defendants violated Calz`fornz`a Labor Code § 226;
§§Eai §§ 15: 1‘. Whether Defendants are subject to Calg`form'a Labor Code § § 201, 202, and
§§ : 16 203;
17 s. Whether Defendants violated Cali'}"oz'nz`a Labor Code §§ 201, 202, and 203;
18 - t. Whether Defendants are Subject to ]WC Wage O/'ders and Cal;°fornia Labor
19 Code §§ 226.7 and 512;
20 u. Whether Defendants violated Wage Orders and California Labo)' Code §§
21 226.7 and 512;
22 v. Whether Defendants violated Caliform'a Business & Prqfessions Code §
:::: 23 17200 et. seq.; and
` w 24 w. The nature, extent and measure of damages of the Class~wide injury.
. §,: 25 25. When Weighed against every possible alternative, class action treatment is superior
,;-.;.

26 and ensures the fair and efficient adjudication ofthe controversy alleged herein. Class treatment
27 permits a large number of similarly situated persons to prosecute their common claims in a single
28 forum simultaneously, efficiently, and without the duplicative efforts and expense that multiple

9

Complaint

 

 

 

Doc# 1 Page# 10 - Dcc ID = 1729755688 - Doc Type = OTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 12 of 29 Page |D #:26

(Page 11 of 28)

y_¢

individual suits necessitate Here, no difficulties are likely to be encountered that would preclude
the maintenance of this action as a class action, and no better alternative exists for the fair and
efficient adjudication of the instant controversy Upon information and belief, the Class members
are readily identiiiable from Defendants' employee rosters and/or payroll records

26. Defendants' actions apply generally to the entire Class. Prosecution of separate
actions by individual members of the putative Class would create the risk of inconsistent or
varying adjudications of the same issues presented herein, Which, in turn, would~establish

incompatible and variant standards of conduct for Defendants

~\OM\]O\UIJ>.L>JN

27, The class action mechanism is superior to other available methods for the fair and

\..4
O

efficient adjudication of this controversy because joinder of all members is impractical

).¢\
bd

Furthermore, the amounts at stake for many members of the Class, while substantial, may not be

par
d.\

sufficient to enable them to pursue separate litigation against Defendants

>-\»-¢
.p.L»J

CAUSES OF ACTION

Suile 1660
Los Angclcs, CA 90025

»_A
Ul

FlRST CAUSE OF ACTION

ESENSTEN LAW
12100 Wllshlre Blvd

p_¢
U'\

Failu re to Provide Mandated Timely ()ff-Duty Meal Periods

p_¢
\]

(IWC Wage Order No. 9, Cal. Labor Code §§ 226.7, 512)

y_¢
m

28. Plaintiff re-alleges and incorporates by reference each and every allegation set forth

pa
\D

in the preceding paragraphs as though iillly set forth herein.

N
O

29. California Labor Code § 226.7(a) provides, "No employer shall require any

N
p.¢\

employee to work during any meal or rest period mandated by an applicable order of the Industrial

N
N

Welfare Cornmission."

;r;.
N
bi

30. California Labor Code § 512 states in pertinent part that employers must provide at

,`,
N
.D.

least a thirty-minute meal period for every five hours of work and another thirty~minute period if

N
LII

the work period is ten hours or more. Defendants must also provide a ten-minute rest break for

N
O\

every four hours of work or major fraction thereof

N
\l

3l. IWC Order No. 9~200](]1)(/1) provides, in relevant part "No employer shall

N
W

employ any person for a work period of more than five (5) hours Without a meal period of not less

10

Complaint

 

 

 

Doc# 1 Page# 11 - Doc ID = 1729’755688 - Doc Type = OTl-IER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 13 of 29 Page |D #:27

(Page 12 of ZB)

1 than 30 minutes, except that when a work period of not more than six (6) hours will complete the
day's Work the meal period may be waived by mutual consent of the employer and the employee."
Cal. Code Regs., tit. 8, § 11090(11)(A).

32. lWC Order No` 9-200 (l l)(c) further provides, in relevant part: "Unless the

employee is relieved of all duty during a 30-minute meal period, the meal period shall be

munssz

considered an 'on duty’ meal period and counted as time Worked." Cal. Code Re`gs., Tit. 8, § 18
11090(11)(c).

33. Section 512(a) oi` the California Labor Code provides, in relevant part, that:

\DOC\!

"An employer may not employ an employee for a work
period of more than five hours per day Without providing
10 the employee with a meal period of not less than 30
minutes, except that if the total work period per day of the
11 employee is no more than six hours, the meal period may
be waived by mutual consent of both the employer and

12 employee An employer may not employ an employee for a
Work period of more than 10 hours per day without

13 providing the employee with a second meal period of not
less than 30 minutes, except that if the total hours Worked is
14 no more than 12 hours, the second meal period may be
waived by mutual consent of the employer and the

15 ' employee only if the first meal period was not waived."

ESENSTEN LAW
l2100 Wilshire B|vd_
Suiic 1660
Los Ange|es, CA 90025

16 34. Calit`ornia courts interpreting Section 11 (A) of Wage Order No.9, Section 512 of
17 the Labor Code, and Section 226.7 of the Labor Code have concluded that California employers
18 have an affirmative obligation to relieve employees of all duties for 30-minute meal periods for
19 every five hours of worl<. See Brinker Rest. Corp. v. Superior Court, 53 Cal. 4th_1004 (2012); see
20 also Cicairos v. Summz`t Logz'stz'cs, 133 Cal. App. 4th 949, 962-963 (2005) ("the Defendants"

21 obligation to provide Plaintiffs with an adequate meal period is not satisfied by assuming that the
22 meal periods Were taken, because employers have "an affirmative obligation to ensure that

w 23 workers are actually relieved of all duty" (DLSE Opinion Letter, 2002,01.28, p. 1)) . They also

24 have a duty under Wage Order N0.9 to record their employees meal periods."); Andrea Savaglz`o
_ off 25 er al. v. Wale/l Stores, lnc. et aI., Nov. 6, 2003 Order (l) Granting Class Certification in Part and
26 (2) Denying Class Certification in Part, dated 11106/03, Alameda County Superior Court, Case
27 No. C-83 5687 -7, at p. 15 ("The Court holds that the Labor Code and Wage Orders require

28 employers to ensure that employees take full 30 minute meal breaks."); see, also_, DLSE Manual §

ll

Complaint

 

 

 

Doc# 1 Page# 12 - Doc ID = 1729755688 - Doc Type = O'Fl-[ER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 14 of 29 Page |D #:28

(Page 13 of 28)

1 45.2.1 ("It is the employer's duty to compel the worker to cease work during the meal period" and
"the employer is not entitled to excuse the fact that he or she employs an employee for a period of
more than five hours without a meal period on the failure of the employee to take the meal
period.").

35. Plaintiff and other similarly situated class members are informed and believe and

Ch th J> bd bJ

thereon allege, that Defendants failed to provide meal periods in violation of Califomia Labor
Code §§ 226.7 and 512, and the Calz`fornz`a Wage Orders. As alleged herein, due to Defendants’

policies requiring Class members to attend to their trucks at all times, including during all breaks,

VD OO `J

Plaintiff and the members of the Class were never fully relieved of all duties and were routinely
10 required to work through their meal periods at the direction of Defendants and/or with their

11 knowledge and acquiescence

12 3 6. By their actions in requiring drivers to work through meal periods and/or their
v m 13 failure to ensure the taking of timely off-duty meal periods by drivers, Defendants have violated
§ § § § 14 California L'abor Code Section 226.7, and are liable to Plaintiff and the Class.
§§ § § 15~ 37. AS a result of the unlawful acts of Defendants, Plaintiff and the Class have been
§ 5 § 16 deprived of timely off-duty meal periods, and are entitled to recovery under California Labor
17 Code Section 226.7(b) in the amount of one additional hour of pay at the employee's regular rate
18 of compensation for each work period during each day in which Defendants failed to provide
19 drivers with timely statutory meal periods
20 38. California Labor Code Section 218 authorizes Plaintiii` and the members of the
21 Class to bring a private right of action to recover wages due based on the deprivation of timely off-
22 duty meal periods under California Labor Code Section 226.7(b),
iii 23 39. Defendants have acted with malice, oppression and/or in conscious disregard for
ap

` *" 24 the legal rights ofPlaintiff and members ofthe Class by failing to provide them with their timely
‘ 'C`*él 25 and full meal periods as required by California law, thereby causing them to incur actual injuries
26 Defendants’ actions also constitute a blatant violation of California law and public policy

27 concerning the provision of meal periods

28 ///
12

Complaint

 

 

 

DOC# 1 Page# 13 - Doc ID = 1729755688 - Doc Type = OTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 15 of 29 Page |D #:29

(Page 14 of 28>

>..a

W
Failure to Provide Mandated Timely Off»Duty Rest Periods
(IWC Wage Order No. 9, Cal. Labor Code §§ 226.7, 512)
40. Plaintiff re-alleges and incorporates by reference each and every allegation set forth
in the preceding paragraphs as though fully set forth herein.
41. Defendants are and at all relevant times were required to provide ia ten-minute rest
break for every four hours of work or major fraction thereof 1

42. Plaintiff and other similarly situated class members are informed and believe, and

\D®\.!O\U\AUJN

thereon allege, that Defendants failed to provide rest periods in violation of Calijbmia Labor Code

p_i
O

§§ 226.7 and 512, and the Calz'fomz'a Wage Orders. As alleged herein, due to Defendants’

)_A
z_n

policies described herein_most‘notably, Defendants’ policy that prevented Class members from

}_i
N

leaving trucks unattended-Plaintiff and the members of the Class were never fully relieved of

i_\
ia-|

their duties and were routinely required to work through their rest periods at the direction of

)_\
§

Defendants and/or with their knowledge and acquiescence

Suile 1660
Los Angclcs, CA 90025

>..-s
U'l

43. By their actions in requiring drivers to work through meal periods and/or their

ESENSTEN LAW
12100 Wilshlre Blvd

failure to ensure the taking of timely off-duty rest periods by drivers, Defendants have violated

»-\)--
\la\

California Labor Code Section 226.7, and are liable to Plaintiff and the Class.

»_¢
w

44. As a result of the unlawful acts of Defendants, Plaintiff and the Class have been

)_\
\Q

deprived of timely off-duty meal periods, and are entitled to recovery under California Labor

N
0

Code Section 226.7(b) in the amount of one additional hour of pay at the employees regular rate

N
)_4

of compensation for each work period during each day in which Defendants failed to provide

N
N

drivers with timely statutory rest periods

,\
N
LN

45. Defendants have acted with malice, oppression and/or in conscious disregard for

7
N
4`_

the legal rights of Plaintiff and members of the Class by failing to provide them with their timely

ssi

N
Ul

and full rest periods as required by California law, thereby causing them to incur actual injuries

en

N
G\

Defendants‘ actions also constitute a blatant violation of California law and public policy

k-)
-`l

concerning the provision of rest periods

N
m

13

\ Complaint

 

 

 

Doc# 1 Page# 14 ~ Doc ID = 1729'755683 - Doc Type = OT}ER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 16 of 29 Page |D #:30

(Page 15 of 28)

1 - THIRI] CAUSE OF ACTION
2 Failure to I’ay Minimum Wages
3 (Cal. Labor Code § 1197)
4 46. Plaintiff re~alleges and incorporates by reference each and every allegation set forth
5 in the preceding paragraphs as though hilly set forth herein.
6` 47. Plaintiff is informed and believes, and thereon alleges, that Calg”orm'a Labor Code
7 § 1197 and the ladus!rz`al Welfare Commz'ssz'on Wage Orders Were in full force and effect and
8 binding on Defendants at all times relevant hereto. lt is unlawful for an employer to pay an
9 employee less than the minimum wage.
10 48. Plaintiff is informed and believes, and thereon alleges, that he and similarly

11 situated class members were not paid the minimum wage for every hour worked which is below
12 what is required by the State of California's minimum wage laws. Since Defendants failed to pay

13 Plaintiff and Class members minimum wages, Defendants are in violation of Calz'fornia Labor-

 

§§ §§ 14 Code § ll97 and the lWC Wage Orders.
§§ § §§ 15 49. Plaintiff and similarly situated Class members are therefore entitled to recover the
w§ § 16 unpaid amount of the wages, interest thereon, and reasonable attorneys’ fees and costs as provided
17 for by law. Plaintiff is therefore entitled to recover the unpaid amount of the minimum wage,
18 liquidated damages, interest thereon, and reasonable attorneys' fees and costs as provided for by
19 California Labor Code §§ l 194 and ll94.
20
21 FOURTH CAUSE OF ACTION
22 Failure to Provide Accu rate Itemized Wage Statements
d 23 ` (Cai. Labor code §§ 226 and 226.3)
:" 24 50. Plaintiff re~alleges and incorporates by reference each and every allegation set forth

’ <“'?f 25 in the preceding paragraphs as though hilly set forth herein.

 

26 51. Seetion 226(a) of the California Labor Code provides:
27 "Every employer shall, sentimentth or at the time of each
payment of wages, furnish each of their or her employees,
28 either as a detachable part of the check, draft, or voucher
14
Complaint

 

 

 

Doc# 1 Fage# 15 - Doc ID = 1729755688 - Doc Type = OTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 17 of 29 Page |D #:31

(Page 16 of 28)

1 paying the employees wages, or separately when wages are
paid by personal check or cash, an accurate statement in

2 writing showing (l) gross wages earned, (2) total hours
worked by the employee, (3) the number ofpiece-rate units

3 earned, (4) all deductions, (5) net wages earned, (6) the
inclusive dates of the period for which the employee is

4 paid, (7) the name of the employee and their or her social

security number, (S) the name and address of the legal
entity that is the employer, and (9) all applicable hourly
rates in effect during the pay period and the corresponding
number cf the hours worked at each hourly rate by the
employee.“

52. Section 226(e) provides that an employee is entitled to recover the greater of actual

`~OOQ\'|G\UI

damages or $50 for initial pay period in Which a violation of Section 226 occurs and $100 for each
10 subsequent pay period, not to exceed $4,()00, as well as an award of costs and reasonable

11 attorney's fees, for all pay periods in which the employer knowingly and intentionally failed to

12 provide accurate itemized statements to the employee causing the employee to suffer injury.

13 53. As set forth above, during the entire Class Period, Defendants knowingly provided

14 Plaintiff and members of the Class with bi-monthly inaccurate itemized wage statements, failing

Suite l660
L,os Angeles, CA 90025

15' to include payments for missed or on-duty meal and rest periods in the gross wages earned during

ESENSTEN LAW
12100 Wilshire Blvd.

16 all pay periods occurring during the Class Period. _
17 54. Defendants' failure to provide Plaintiff and members of the Class with accurate
18 itemized wage statements during the Class Period has caused Plaintiff and the Class to incur
19 economic damages
20 55. As a result of Defendants' weekly issuance of inaccurate itemized wage statements
21 to Plaintiff and members of the Class in violation ofLabor Code Section 226(a); Plaintiff and each
22 member of the Class are each entitled to recover the greater of actual damages or an initial penalty
`_" 23 of $50, and subsequent penalties of $100, up to an amount not exceeding an aggregate penalty of
:`_ 24 $4000 per Plaintiff and per every member of the Class from Defendants pursuant to Section 226(e)
:°;Tét 25 ofrhe tabor cada

 

26 ///
27 ///
23 ///
Conip$laint

 

 

 

Doc# 1 Page# 15 - Doc ID = 1729755688 - Doc: Type = OT}ER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 18 of 29 Page |D #:32

(Page 17 of 28)

1 FIFTH CAUSE OF ACTION

2 Failure to Pay Compensation Due Upon Separation of Employment

3 (Cal. Labor Code §§ 201-203)

4 56. Plaintiff re~alleges and incorporates by reference each and every allegation set forth
5 in the preceding paragraphs as though fully set forth herein.

6 57. Sections 201 and 202 of the California Labor Code require Defendants to pay all

7 compensation due and owing to former drivers at or around the time each driver's employment is
terminated or ends. Section 203 of the California Labor Code provides that if an employer

9 willfully fails to pay compensation promptly upon discharge or resignation, as required by

10 Sections 201 and 202, then the employer is liable for penalties in the form of continued

1 1 compensation up to thirty (3 0) work days.

 

12 58. Defendants willfully failed to pay Plaintiff and other members of the Class who are
d g 13 no longer employed by Defendants for their missed, untimely and/or on-duty or interrupted meal
§ § § § 14 periods upon their termination or separation from employment with Defendants as required by
§§ § § 15 California Labor Code Sectlons 201 and 202.
m § § 16 59. As a result, Defendants are liable to Plaintiff and other members of the Class who
17 are no longer employed by Defendants for penalties pursuant to California Labor Code Section
18 203.
19
20 SIXTH CAUSE OF ACTION
21 UnfairfUnlawful/Fraudulent Business Practices
22 (Cal. Bus. & Proi`. Code § 17200 et seq.)
§: 23 60. Plaintiff re-alleges and incorporates by reference each and every allegation set forth

»*:~:' 24 in the preceding paragraphs as though fully set forth herein.
mg
f_‘§‘ 25 61. Section 17200 of the California Business & Professions Code prohibits any
err

26 unlawful, unfair, or fraudulent business practices

27 62. Labor Code Section 90.5(a) states that it is the public policy of California to
28 vigorously enforce minimum labor standards in order to ensure employees are not required to

16
Complaint

 

 

 

Doc# 1 Page# 17 - Doc ID = 1729755688 ~ Doc Type = OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 19 of 29 Page |D #:33

(Page 18 of 28)

1 work under substandard and unlawful conditions, and to protect employers who comply with the
law from those who attempt to gain competitive advantage at the expense of their workers by

failing to comply with minimum labor standards

li bd bd

63. Through its actions alleged herein, Defendants have engaged in unfair competition
within the meaning'cf California Business & Professions Code Section 17200, because
Defendants' conduct has violated state wage and hour laws as herein described Defendants'
conduct as herein alleged has damaged Plaintiff and the Class members by wrongfully denying

them timely meal periods, issuing incorrect itemized wage statements, and failing to pay all wages

\Q 06 `J Ch Lh

at the time oftermination, and therefore was substantially injurious to Plaintiff and the Class

10 members

11 64. Defendants committed, and continue to commit, acts of unfair competition, as

12 defined in California Business & Professions Code Section 17200, et seq., by, among other things,

13 engaging in the acts and practices described above.

§ :'; § § 14 65. Defendants engaged in unfair competition in violation of California Business &
§§§§,, 15:, Professions Code Section 17200, et seq., by violating, inter alia, each of the following:
f 5 § 16 a. two wage orderNo. 9;

17 b. Cal. Code Regs., Tit. 8, § 18 11090(11)(0);

18 c. California Labor Code Section 226.7;

19 d. California Labor Code Section 512;

20 e. California Labor Code Section 1197; and

21 f. California lWC Orders No. 9-2001;

22 66. Defendants‘ course of conduct, act and practice in violation of the California laws

§§ 23 mentioned in each paragraph above constitute separate and independent violations of Ca]ifornia

' *‘"" 24 Business & Professfons Code Section 17200, et seq.
§ <t$f 25 67. The harm to Plaintiff and the Class members in being wrongfully denied timely 30-
W 26 minute off-duty meal periods and lO-minute rest periods as required by law outweighs the utility,
27 if any, of Defendants' policies and practices and, therefore, DefendantsI actions described herein

28 constitute an unfair business practice or act within the meaning of California Business &

17

Complaint

 

 

 

Doc# 1 Page# 18 ~ Doc ID = 1729755688 - Doo Type = OTHER

ESENSTEN LAW
12100 Wslshxre Blvd
Sune1660
Los Angeles, CA 90025

Qi:.\,
r,»-.l
r.'.,
civ
. wm

n~,,\
e"‘f'ii

t

bar .

` csc

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 20 of 29 Page |D #:34

(Page 19 of 23)

\DOE\]G\U!J>~

10
11
12
13
14

151

16
17
18
19
20
21
22
23
24
' 25
26
27
23

 

 

Professions Code Section 17200. Defendants, as described above, have injured Plaintiff and the
Class members~, in that they were wrongfully denied wages due for missed, untimely and on-duty
meal periods, as well as given itemized wage statements not conforming to the law, and their

wages were withheld nom them, upon separation of employment

W

Wherei`ore, Plaintiff, on behalf of himself and the members of the Class, prays for

judgment against Defendants as follows:

1. An order certifying that this action may proceed and be maintained as a class action
and appointing Plaintiff as the Class Representative and Plaintiff’ s counsel as Class
Counsel;

2. On the First Cause of Action:

a. A declaratory judgment that Defendants have violated California Labor Code
Sections 226.7, 512 and the lWC Wage Order No. 9-2001;

b. Pursuant to California Labor Code Section 226.7, an award to Plaintiff and the
Class Members for an additional hour of pay at the employee's regular rate of
compensation for each day that off-duty meal periods were missed/not provided
during the Class Period;

c. Pursuant to California Labor Code Section 218.6, an award of all accrued
interest from the date that the wages were due and payable at the legal interest
rate; and

d. An award to Plaintiff and the Class members of reasonable attorneys’ fees and
costs;

3. On the Second Cause of Action:

a. A declaratory judgment that Defendants have violated California Labor Code
Sections 226.7, 512 and the IWC Wage Order No. 9-2001;

b. Pursuant to California Labor Code Section 226.7, an award to Plaintiff and the

Class Members for an additional hour of pay at the employee's regular rate of

18

Complaint

 

Doc# 1 Pa.ge# 19 - Doc D = 1729'755688 - Doc Type = O'.T.`HER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 21 of 29 Page |D #:35

(Page 20 of 28)

 

1 compensation for each day that off-duty rest periods were missed/not provided
2 during the Class Period;
3 c Pursi;ant to California Labor Code Section 218.6, an award of all accrued
4 interest from the date that the wages were due and payable at the legal interest
rate; and
6 d. An award to Plaintiff and the Class members of reasonable attorneys' fees and
7 costs;
8 4. On the Third Cause of Action:
9 a. A declaratory judgment that Defendants have violated Cal. Labor Code § 1197;
10 b. An award of all unpaid minimum wages, according to proof;
11 c. An award of all waiting time penalties under California Labor Code §§ 201,
12 202, and 203 owed to Plaintiff and Class members, according to proof;
v m 13 d. An award of all penalties required under California Labor Code § 1194.2 in an
§ § §§ 14 amount according to proof; and
§ § § § 15l e. An award of reasonable attorneys‘ fees and costs;
a § § 16 5. On the Fourth Cause of Action:
17 a. A declaratory judgment that Defendants violated California Labor Code
18 Sections 226 and 226.3; v
19 b. An award of penalties pursuant to California Labor Code § 226; and
20 ' c'. An award of reasonable attorneys' fees and costs;
21 6. On the Fifth Cause of Action:
22 a. A declaratory judgment that Defendants violated California Labor Code §§ 201,
§ 23 202, and 203; ana ‘
S'l 24 b. An award of waiting time penalties under California Labor Code §§ 201, 202,
’ 25 ana 203;
scm 26 7. On the Sixth Cause of Action:
27 a. An order requiring Defendants, its agents, servants, and employees, and all
28 persons acting, directly or indirectly, in concert with them, to restore as
19
Complaint

 

 

 

Doc# 1 Page# 20 - Doc ID = 1729755688 ~ Doc Type = OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 22 of 29 Page |D #:36

(Page 21 of 28)

ESENSTEN LAW
12100 Wilshlre Blvd
Suhc1660
a ' Los Angeles, CA 90025

we l

bd

»-\)-»-‘»-‘i-¢»-)-
ostn.mwr~.)»-r=

17
is
19
20
21
22
23
24
25
26
27
23

\DO¢\!G\UIAUN

 

 

restitution all funds to each member`of the Class acquired by means of any act
or practice declared by this Court to be unlawful, unfair or fraudulent and
therefore constituting unfair competition under California Business and
Professions Code Section 17200, et seq.;
8. For the Class's missed meal and rest periods, restitution of all wages earned by the
Class, but not paid by D_efendants, including, but not limited to, the relief permitted by
the California lWC Wage Order No. 92001; v
9. Injunctive relief enjoining Defendants from continuing to engage in the unlawful
practices described herein',
10. Ari award for reasonable attorneys’ fees and costs;
11. An award for pre-judgment interest; and

12. All other relief as this Couxt deems proper.

DATED: March l, 2018 ESENSTEN LAW

JORDAN S ESENSTEN
Attorneys for Plaintiff LOUIE I-IAS SAN and all others
similarly situated

20

Complaint

 

Doc# 1 Page# 21 * Doc ID = 1729'755688 - Doc Type = OT}IER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 23 of 29 Page |D #:37

(Page 22 of 28)

1 DEMAND FOR JURY TRIAL
3 Plaintiff hereby demands a trial by jury.

DATED: March I. 2018 ESENSTEN LAW

/ JoRDAN s. ESENSTEN
Attorneys for Plaintiff LOUIE HAS SAN and all others
similarlv situated -

O\U!A

\OOQ\I

10
11
12
13
14

Suitc 1660
Los Angcles, CA 90025

15

ESENSTEN LAW
12 l00 Wilslure Blvd

16
17
18
19
20
21
22
S.=¢l 23
';:.;~. 24
<‘§:' 25
26
27
28

21

Complaint

 

 

 

Doc# 1 Page# 22 - Doc ID = 1729'755688 - Doc Type = O'I‘H'ER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 24 of 29 Page lD #:38

(Page 23 of 28)

 

 

 

 

_:~_, x
CM-01(1
A`ITORNEYDR FARTYW|THOUT MTORNEV Name Stala Bornumbcn and sddresa: FORCOURYUSEONLY
_§§)€}I§,§TTEIN E§EL\ISTEN (SB 65728) / JORDAN S. E§ENSTEN (SBN 264645)
12100 wilshire alvd., sulie 1660 F|LED
Los Angeles, Caiit`ornia 90025 ~ Su mm O°un of california
retei>uoua No.: 310) 273-3090 l=Ax No.; (310) 207-5961? Bgunty 01 LUS`AngBlBS
Anon»avi=omi-mi.- _ laintist Louie Hassan and Others Snnilarly Sltuated
suaenlon counroF cALll=oRNlA,couNrY ol= Los An el,es
STREENDDRESS= 111 Not'th Hill Street g MAR 01 2018
MAll.lNc AonRess: 111 NOt'th Hlll Sh‘eet shen-` ~ Ciefk
crnr Awl)zlr=cooe LOS An eles California 90012 _ _ ay Depuiy
assign NAME: Stanley osi< Courthouse - Central Dlstrict - Gomaz
cASE NAME:
Louie Hassan, et al. vs. Praxair, lnc., a Delaware Corporation
-CN"" CASE CO§R sHEET Comp|ex Case Designation cme NUMBER:
unlimited l_imired B 6 6 9 6 § 2 a
(Amount (Amoum 1:1 Counter § .lolnder JuDGE.
demanded demanded is Filed with first appearance by defendant `
exceeds 525,000) $25,000 or less) (Cal. Rules of Courl. rule 3.402) DEPT=

 

 

 

Items 1-6 below must be completed (see instructions on page 2,|.
1. Checl< one box below for the case type that best describes this case:

 

Damage/Wrongtul Death) Tort
Asbeslos (04)
amount liability (24)

lnsurance coverage (18)
Other contract (37)
Real Property

Mass tort (40)
Sacurities litigation (28)
Environmental/l‘oxic tort (30)

Auzo Tort Contra¢t Provisionally Complex Clvil th.igati on
Au[o (22) [:] greach afconiracuwar,amy (06) (cal. Rules of coun, rules a.auo~s.aus)
Uninsuréd motorist (46) 1:1 Rule 3.740 collections (09) i::i Antilrust/Trade regulation (03)

Other PllPD/Vl/D(Persona| lnjurylProperty § Other collections (09) 1:1 Construction detect (10)

l:i

UUUU

 

 

medical malpractice (45) 1::1 Emi"em domain/inverse lnsurance coverage claims arising from the
1:1 Olher PllPD/WD (23) Cvnd€mnalion (14) above listed provisionally complex case
Non-PllPD/wo (ouier) Torl ij Wl°"§'"' eviction l331 types (41)
111 Business tort/unlsir business practice (07) o'her real properly 1281 E"f°rc°mem °' Judgmem
1.___1 Civil rights (08) _ Unlawful Detainer :1 Enforcsmenl ofjudgment(ZO)
m Detamatlon (13) Comel'da| (31) Misl:el|aneous Civilcomplatnt
m Fraucl tier 1:1 Residenlial l32l ij Rlco (27) '
ij intellectual property (19) D'UQS 1351 :1 Olher complaint (nol specified above) (42)
m Pmlessional negligence l25) ~'udi¢ia'RE"iEW nissellansuus civilPeillion
1:| enter n°“'P'/PD/WD i°" 1351 § Asset '°"'e"u'e (05) Partnership and corporate governance (21)
Em loymenc 1:1 Petition rec arbitration award (11) {:l Omer pem|on (nmspecmed above) (43)
Wrongtul termination (38) :1 ert ot mandate (02)
Other employment (15) m Olher judicial review (39)

 

24 This case LL\ is l:i is not complex under rule 3.400 of the California Rules of Court. |fthe case is complex, mark the
factors requiring exceptional judicial management
a. 1:1 Large number of separately represented parties d. |:1 Large number ot witnesses
b. m Extensive motion practice raising difficult or novel e. I:i Coordinalion with related actions pending in one or more courts
issues thatwill be time-consuming to resolve in other counties. states. or countries, or in a federal court
c. l:l Substantial amount of documentary evidence f. 1:] Sub.stantial postjudgmentjudicia| supervision

3. Remedies sought (check all that app/y): a.l::l monetary oil nonmi'.inetary; declaratory or injunctive relief C. \Epunilive
4. Numbernr causes of action (specify): Six (6)-1. Failure to Provide Meal Breaks, 2. Failure to Provide Rest Breat<s,
§5_,¢ This case is ::l is not a class action suit. 3.Failure to Pay lvlin. Wages, 4.Failure to Provide Accurate Wage Statements,
963 lf there are any known related cases, file and serve a notice of related case. (You may use form C -015.)5.Fai1ure lo Pay Sep. Employ. Comp.
('é,,ate: March ], 2018 . Unfair Business Practlces
. jordan S. Esensten } ,
. mason palm miller isloNArual=. or~ mm on ATTQRW
i§:i NOTICE
im plaintiff must tile this cover sheet with the first paper Filed in the action or proceeding (except smell claims cases or cases filed
"5' under the Probale Code. Family Codel or Weltare' and institutions Code). (Ca|, Rules of Courtl rule 3.220.) Failure to tile may result
in sanctions
' File this cover sheet in addition to any cover sheet required by local court rule.

¢ |f this case is complex under rule 3.400 et seq. of the Calitornia Ru|es of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding

v Unless this is a collections case under rule 3.740 or a complex casei this cover sheet will be used for statistical purposes only
M

 

 

 

 

 

Folrrl Adopted tel Mun:aturyuou : Cal. Rulc:i otCuurL wlc" 2.30. 3.220. EAUU-S.NS\ 3.740:
Judlclatcouni:il othlifomla Clvu' CASE cOVER SHE‘ET Cal. Slondaids ;l.lud|clal Admlnlstral|on,std. 3.10
CM'N° [Rev. July 1. 2007] , www.oaurtlnt'o.cu.gav

Doctt 1 Pagett 23 - Doc ID = 1729'755688 - Doc Type = OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 25 of 29 Page lD #:39

of 28)

CM-O'lO
lNSTRUCT|ONS ON HOW TO COMPLETE THE COVER SHEET

To plaintiffs and Others Fi|ing First Papers. lt you are filing a first paper (for example, a complaint) in a civil case, you must
complete and ti|e. along with your first paper. the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases liled. You must complete items 1 through 6 on the sheet ln item 1, you must check
one box for the case type that best describes the case lt the case fits both a general and a more specific type of case listed in item 1,
check the more apecihc one. lf the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item '1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to tile a cover sheet with the hrsl paper filed in a ci_vl| case may subject a party,
its counsel. or both to sanctions under rules 2.30 and 3.220 of the Calil'ornia Rules of Court.

To Parties tn Rute 3.740 Col|ections Cases. A “ccllections case“ under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees. arising from a transaction in
which property. servicesl or money was acquired on credit A collections case does not include an action seeking the following: (1) tort
damages (2) punitive damages (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment The identification of a case as a rule 3.740 collections case on this form means that lt will be exempt from the general
time-tor-service requirements and case management rules, unless a defendant files a responsive pleading A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. |n complex cases only, parties must also use the Civil Case Cover Sheel to designate whether the
case is complex lf a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes ln items 1 and 2. lf a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintist designation. a counter~designalion that the case is not complexl or. if the plaintiff has made no designation a designation that
the case is complex. cAsE TYPES AND EXAMPLES

Auto Tort Contract
Auto (22>-Personal lnjurylProperty Ereach of Contractharranly (06)

provisionally Complex Civil Litigation (Ca|.
Ru|es of Court Rulas 3.400-3.403)

Darnage/Wronglul Dealh

Uninsured Molorist (46) (il' the
case involves an uninsured
motorist claim subject to
arbitration check this item
instead olAuto)

Otllor PllPD/WD (porsonal lnjury/

Property DamageiWrongful Deelh)

Tort

Asbestos (O¢t)

Asbestos Property Damage
Asbestos Persona| lnjuryl
Wrongtu| Death
Product liability (not asbestos or
toxic/environmental) (24)

Medical Malr:ractice (45)
Medice| Malpraclice-
Physicians 8 Surgeons
Other Prolessional Health Care
Ma|praclice
Other PllPDl‘/VD (23)
Premises Liability (e.g., slip
and fall)
|nlenlional Bodi|y |njury/PD/WD
(e.g.. assault vandalism)
intentional initiation of
Emolional Distress
Nagiigenl infliction of
Emotional Distress
Other PthCllVl/D

Non-PllPDlWD (Othar) Tort

Business Tort/Unfair Business
Practlce (07)

Civil Righls (e.g., discrimination,
false arrest) (not civil
llarassmont) (08)

Detamation (e~g., slander, |ibel)

(13}

Freud (15)

intellectual Property (t9)

Prutessional Neg|igence (25)
Legal Malpractice
Olher Professional Malpractice

(nol medical or legal)

Olher Non»Pl/PD/WD Tort (35)

Employment
Wrongtul `l'erminatlon (SE)

Other Employment (15)

 

emma anv. July 1, 2001]

Breach ct Renlal/Lease
Conlracl (nol unlawful detainer
or Wrongful eviction)
Conlracl/Warranty Breach-Sel|er
Plaintiff (nol fraud or negligence}
Negligent Breach ol Conlractl
Warranty
Other Breach of Conlract/Warranty
Col|eclions (elg., money owedl open
book aocounts) (09)
Co|lection Case-Setler Plaintiff
Other Promissory Nole/Co|tections

Case

insurance Coverege (nol provisionally
complex) (18)

Auto Subrogaticn
Olher Coverage

Other Contract (37)
Conlractual Fraud
Other Conlract Dispute

Real Property

Eminenl Domainllnverse
Condemnat|on (14)

Wronglul Eviction (33)

Other Real Property (e.g., quiet tille) (26)
Writ of Possession ot Real Property
Mortgage Foreclosl.lre
Quiet `l'ltle
Other Rea| Property (not eminent
domain, landlord/tenant or
loreclasure)

Uniawfu| Detainer

Commercia| (31)

Residenlial (32)

Drugs (38) (it'the case involves illegal
drugs, check this item; otherwise
report as Commercial or Residentl'al)

Judiclal Review

Asset Forleiture (05)

Petiticn Re: Arbitration Award (11)

Writ of Mandate (02)
Writ~Adminislrative Mandemus
Writ-Mandamus on Limited Court

Case Matler
Writ-Other Limited Court Case
Review

Olher Judicial Review (39)

Revlaw of Heallh Officer Order
Notice ot Appeal-Labor
Commissioner Appeals

C|V|L CASE COVER SHEET

Docll 1 Pageit 24 - Dclc ID = 1729'755688 - Doc Type

Antilrust/Trade Regulation (03)
Construclion Detect (10)
Claims lnvolving Mass Tort (40)
Securities Litigation (28)
Environmenial/Toxic Tort (30)
insurance Coverage Claims
lansing from provisionally complex
case type listed aba ve) (41)
Enfo rcement of Judgment
Enforcement or Judgment (20)
Abstract of Judgment (Out of
Coun'ly)
Conlession of Judgment (non-
domestic nalall'ons)
Sister Slate Judgment
Adrninislretive Agency Award
(nof unpaid taxas)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
Other Entorcement ot .ludgment
Case

Miscellaneous Civil Complaint
RlCO (27)
Other Complaint (notspecified
abovel (42)
Declaralory Reliel Only
injunctive Retief Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case (non-lort/non-complex)
Other Civil Complaint
(nan~lorl/non-complex}
Mlscellaneous Clvll Petit|on
Parlnership and Corporele
Governance (21)
Other Pelition (nol specified
above} (43)
Civil Harassment
Workplace Vio|ence
Etder/Dependenl Aclult
Abuse
E|eclion Contest
Petition for Name Change
Pelition for Rellef From Late
C!aim
Other Civil Petilion

Fagu?ofE

= OTHER

(Page 25

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 26 01 29 Page lD #:40

of 23)

 

SHORTTHLE

 

i.ouie Hassan, et el. vs. Praxair, |nc.l a Oelaware Corporation

cAsE NuMaeR B 9 6 9 b

 

134

 

 

ClVlL CASE COVER SHEET ADDENDUM AND
STATEN|ENT OF LOCAT|ON
(CERT|F|CATE OF GROUNDS FOR ASSlGNMENT TO COURTHOUSE LOCATION)

 

 

This form is required pursuant to Loi:al Rule 2.3 in all new civil case filings in the Los Arigeles Superlor Court.

 

 

Step 11 After completing the Civil Case Cover Sheet (Judicial Council form ClVl-OlO), find the exact case type in
Coiumn A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 21 |n Column B, check the box for the type of action that best describes the nature of the case.

Step 3: ln Column C, circle the number which explains the reason for the courtfiling location you have

chosen.

 

1. Class actions must be filed in the Stanley l'\/losk Courthouse. Central District.

Applicable Reasons for Choosing Court Fi|ing Location (Column C)

2. Perrnissive filing in central district

3. Location where cause of action arose.

4. Mandalory personal injury filing in Noi‘th Districl.

5. Locaticin where performance required or defendant resides.

6. Location of property or permanently garaged vehicle.

7. Location where petitioner resides

B. Location wherein defendant/respondent functions who||y.

9. Lccaticn where one or more ofthe parties res
10. Localion of Lebor Commlsslorier Office.

ide.

11. Mandatory fliing location (Hub Cases - unlawful detainer, limited
non-collection, limited collection, or personal injury).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

`A 'B c
Civil Case Cover Sh_eet Type of Aclion App|icable Reasons -
Categcry No. (Ch'eck only one) See $tep 3 Above
Auto (22) ill A7100 Motor Vehic|e - Personal |niury/Property DarnageNVrongiu| Death 1, 4, 11
2 t
§ le Uninsured Motorist (46) Ei A7110 Personal lnjury/Property Damage/Wrongfui Death - Uninsured Motorist 1. 4, 11
Ei A607O Asbestos Properly Darr\age 1. 11
Asbeslos (04)
>, El A7221 Asbestos- Personal lnjury/Wrongful Death 1, 11
t §
m
§ § ProductLiabi|ity(Z¢i) El A7260 Produci Llabi|ity (nct asbestos or loxic/environmental) 1,4,11
o. m
` d)
§§ _ l'_`i A721D Nledica| Ma|praciice - Physicians & Surgeons 1~ 4~ 11
'-.` =‘ Mecical Malpractice (45)
5"“"5’ ~ 1 4 11
_r_u._x,= l] A7240 Other Professiona| Healih Care Ma|practice ' '
Y'_`,'- CJ A7250 Premises Liabi|ity(e¢g., slip and fa|l)
'r.'t”`,.`.“g Other Personai _ _ 1»4. 11
;,.'E“ mqu property ij A7230 intentional Bodily injury/Property DamagelWrongfulDeath (e.g., 1 4 11
fig Damage Wrongfu] assault vandalism etc.} ' '
‘“" 063"1(23) iii A7270 intentional iniiiciion otemoiionai oisiress 1' 4' 11
El A7220 OtherPersonalln]ury/Properly DamageNVrcngfulDeath 1' 4’ 11
LAciv 109 (Rev 2/15) C|VlL CASE COVER SHEET ADDENDUM Locai Ruie 2.3
l.A.SCApproved 03~04 AND STATEMENT OF L.OCAT|ON Page 1 0f4

Doc# 1 Page# 25 - Doc ID =

1729'755683 ~ noe Type

OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 27 01 29 Page lD #:41

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Page 26 of 23)
snow riTLi:; _ _ _ cAsE Nuiviiaen
Louie l-lassan, et al. vs. Praxair, lnc.l a De|aware Corporation
A - , v B C App|icab|e
. Civil Case Coi/er Sheet ¢ ' Type of Acticn Reasons - See Step 3
' Category No. ` . (Check only one) Above
Business`l’ori(O?) 121 A6029 Other Commercia|lBusinessTort(notfraud/breach 01 contract) @2,3
t
§§ Civi|Rights(OB) D ASOOS CivilRights/Disciiminatlon 1.2,3
3 5
§ § Defamation(13) ij A6010 Deiamatlori(slander/|ibel) 1`2,3
§ §
5 g’ Fraud(16) El A6013 Fraud(nc contract) 1.2.3
§ z _ , i:i A6017 i_egaiiviaipracii¢e 1.2.3
o m Professicnal Negligenco(25) _
“'=. § El A6050 Other Proiessicinei lvlalpraclice (not medical or lega|) 1, 2, 3
z° §§
Other(35) ij ASOZS Ottier Non-Personal ln]ury/Property Damage tort 1. 2. 3
:1
~,;._' Wrongiul`i`ermination($€) ij A6037 WrongfulTerm|nat|cn 1,2,3
m
E
§ El A6024 OtherEmploymentComplaintCase 1, 2. 3
_n. Other Emp|oyment(15)
5 [] A6109 LaborCcmrnissicnerAppeals 10
EJ A6004 Breach of Rental/LeaseContract(rioi unlawfuldetainerorwrcngful 2 5
eviction) '
B r fCo tract/Warran
mac lo (35) ry l.'.i A6008 Contract/WerrantyBreach-Seller Plaintiif(no iraud/negligence) 2' 5
l“°iinsuia"°e) i:i Aeois Negiigeniereach orconiraci/warraniy(norraud) "2'5
El ASOZB OiherBreach of Contracl/Warranty(not fraud or ne'gllgence) 1' 2' 5
§ El A6002 Col|eciionsCase-SellerPlaintiff 5,6,11
..*-.. Collections (09)
g Ci A6012 OtherProm|ssory Note/Co||ectionsCase 5, 11
o El A6034 Coliections Case~Purchased Debt (Charged Off Consumer Debt 5l 6, 11
Purchased on or after January 1, 2014)
insurance Coverage(18) Cl A6015 lnsuranceCcverage(noicomplex) 1,2,5.8
El A6009 Contractua| Fraud 1. 2. 3. 5
Other Contraci(37) Ei A5031 Tortiouslnterference 1_ 2, 3, 5
lIi ASOZ'/' OtherContrai:tDispiite(nctbreachfinsurance/fraud/neg|igence) 1.2,3.8,9
Emé';:rge?:£§’|:‘;'?¥§)'se i:i Av:ioo Eminenr oomain/condemnaiion Numbeioiparoeis 2, a
>.
1-_'
g WrongiulEviclion(BS) [] A6023 WrongfulEviction Case 2.6
C|
D.
<-,-,, Ei A6018 Mortgage Foreclosure 2,6
wl
‘;'-‘ oiher neai Pmperiy (26) i:i Acoaz ouierriiie 2. 6
..,
E`~;‘ ij AEOSO OtherReal Property (noteminentdomairi, iandlordlienani,foreclosure) 2. 6
L: Un'awfu|Deta(;e)r'gommerdal il A6021 Un|awfu| Detainer-Commercia| (not drugs orwrongful eviction) 6. 11
'o
m.
‘ § Un|awfu|Det?;;§r'Res'denua| Cl A6020 UnlawiulDetainer-Residential(not drugs orwrongful eviction) 6, 11
3 Uniawfu| Detainer-
lIl AGOZOF Urilawiu| Detalner-Post-Forec|csure 2, 5, 11
§ Post»Foreclosure (34)
§ UnlawfulDetalner-Drugs((%$) ill A6022 Unlawfu|Detainer-Drugs 2.6,11
LAciv 109 (Rev 2/16) ClVlL CASE COVER SHEET ADDENDUM Locai Ruie 2.3
LASC Approved 03-04 AND STATEN\ENT OF LOCATION Page 2 of 4

Dcc# 1 Page# 26 ~ Dcc ID = 1729755688 - Doc Type

 

OTHER

Case 2:18-cv-O2811 Document 1-1 Filed 04/05/18 Page 28 of 29 Page |D #:42

(Page 27 of 28)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

snow T\TLE; _ _ _ cAsE NuMaER
houle Hassan, et al. vs. Praxalr, inc., a Delaware Corporatlon
A ~ . . - B z ' ' " C Appncable
_. - Civ|| Case Cover Sheel ' Type ofAclion . Reasons - See Step 3
Ca!egory No. (Check only one) ' Above
Asset Fcrfeiture (05) Cl A6108 Asset Fun'eiture Case 2, 3, 6
Petition re Arbitration (11) |Zl A6115 Petition to Compel/Confmnl\/acateArbi!ratlon 2, 5
§
‘S
§ E| A6151 Writ-Administrative Mandamus 2, 8
-§ Writ of Manda!e (02) lj A6152 Writ - Nlandamus on Limited Court Case Matter
§ E} A6153 Wr'il-Other Lim|ted Court Case Review
OtherJudicia| Review (39) 13 A6150 OiherWrilIJudicial Review 2. 8
c Anti\rust/Trade Regulation (03) D A6003 Antitrusl/Trade Regulation 1. 2. 8
.2
‘§,, Construction Defect(w) CJ A6007 Construction Defect 1,2,3
§ C'a‘ms '""°('§'[§‘)9 Mass T°“ m AGooe claims involving Mass Ton 1, 2, a
B.
E
8 Securities L'lfigation (28) 13 A6035 Securitles L|llgal|on Case 1, 2, 8
._>_~
T“ Toxic Tort . .
=
§ Environmemal(w) Cl A6036 Toxlc TcrUEnvlrcnmenla| 1, 2. 3, B
'5
0 l u C Cl ‘ ,
5 nfsm:'§:m‘§;;r§g:e (§'1';'5 [J A6014 |nsurance Coveragel$ubrogatxon(comp!ex case only) ‘ 1, 2, 5, 8
13 A6141 SisterState Judgment _ 2,5, 11
E § [J A6160 AbstractofJudgment 2. 6
°' °’ 13 A6107 Confession ofJudgment (non-domes!icre!ations 2, 9
§ § Enforcemenl
§ § °N“dgment(zo) |3 A6140 Adminlstrat\ve/\gencyAward (not unpaid taxes) 2.8
u- _J
§ '°5 l'_`l A6114 Petition/CediflcaleforEntryof.ludgmenton Unpaid Tax 2.8
U A6112 Other EnforcementofJudgmentCase 2.8.9
R|CO (27) EI A6033 Racketeering (RlCO)Case 1. 2. 3
m 3 '
=== .E .
§ _:_ IJ AGOSO Declaraiory Re|cefOnly ' 1.2.8
§ § Other'Complaims U ASMO injunctive Re|iefOnly(not,domestlc/harassmen\) 2.8
§ § (N°tspec'ned Above) (42) D A6011 Other CommercialComplain|Case (non-iorUnon-complex) 1, 2, 8
§§ ._
0 |I) ASOOO OtherCivilComplaint(non-tort/non-comp!ex) 1.2. 8
___*_.M…L_*~__~*_~m____°_l_““__
Pané‘§`r;?:`paggerp(§:uon E A6113 Pannership and Corporate Govemance Case 2.8
L’_l A6121 Civil Harassment ' 2l 3, 9
Cl A6123 Workplace Harassmem 2, 3. 9
Otherpemions (Not D A6124 E|der/DependentAdultAbuse Case 21 3, 9
Specified Above) (43) IJ A6190 E|ection Contesi 2
13 A6110 Peti\innfor Change of Name/Change ofGender 2 7
D A6170 Petition for Retief from Late C|aim Law 24 3_ 8
[J A61CIO Other Civi|Petition 2 g
LAclv109(Rev 2/16) ClVlL CASE COVER SHEET ADDENDUM anat Rule 2.3
LASCAppm\/ed 03-04 AND STATEN|ENT OF LOCAT|ON Page 3 of 4

Dcc# 1 Page# 27 - Doc ID = 1729755688 - Doc Type = OTHER

Case 2:18-cv-02811 Document 1-1 Filed 04/05/18 Page 29 of 29 Page |D #:43

(Page 28 of 28)

»

 

 

SHORTT|TLE: CASE NUMBER

 

 

Louie Hassan, et a|. vs. Praxair, inc., a Delaware Corporation

 

"" Step 42 Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column Cfor the

type of action that you have selected Enter the address which is the basis for the filing location, including zip code.’
(No address required for class action cases). -

 

REASON1 This is a Class Action and therefore must be filed in the
loi.L_lZ.l_lS.L_l¢l.l_lS,LlS,l_l?. l_l8.l_l 9.Ll10.l_l1'|.

ADDRESS:

Counly Courthouse, Central District

 

 

 

 

 

 

 

cma sTATE: ziP cone
Los Angeles CA 90012
Step 55 Certification Of Assignment! | certify that this case is properly filed in the Cent"a| District of

 

the Superior Court of Ca|lfornia, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].

Dated: ivlarch 1, 2018 %“

(S|GNATURE OF AT`|'ORN EYlFlL|NG PARTY)

PLEASE HAVE THE FOLLOW|NG lTEN|S COMPLETED AND READY TO BE F|LED lN ORDER TO PROPERLY
CO|Vl|VlENCE YOUR NEW COURT CASE:

 

1, Origina| Complaint or Petition.
2 |f filing a Complaint, a completed Summons form for issuance by the Clerk.
3_ Civil Case Cover Sheel, Judicia| Councll form CM-GlO.»
4 Civil Case Cover Sheet Addendum and Statement of Looation form, LACiV 109, LASC Approved 03-04 (Rev.
02/16).
5. Payrnent in full of the filing feel unless there is court order for waiver, partial or scheduled payments
A signed order appointing the Guardian ad Litem. Judicial Counoi| form ClV-O10, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons '
7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and oomplaint, or other initiating pleading in the oase.
r“s,l
mw
i~fl_f.
CW
ga
mciv 109 (Rev 2/16) ClVlL CASE COVER SHEET ADDENDUN| Local Rule 2.3

LAsc Approved 03-04 AND STATEN|ENT OF LOCAT|ON Page 4 of 4

DCC# 1 Page# 28 - Dcc ID = 1729755683 ~ Doc Type = OTHER

